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Magistrate Judge Brian A. Tsuchida

UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF WASHINGTON
AT SEATTLE

UNITED STATES OF AMERICA,
Plaintiff
Vv.
CHANGPENG ZHAO, aka “CZ,”
Defendant.

NO. CR23-179RAJ

WAIVER OF INDICTMENT

1, CHANGPENG ZHAO, having been advised of the nature of the charge and that

it is punishable by imprisonment for a term exceeding one year, and having been advised

of my right to prosecution by Indictment pursuant to Rule 7(a) of the Federal Rules of

Criminal Procedure; having been advised that pursuant to Rule 7(b) of the Federal Rules

of Criminal Procedure I may waive prosecution by Indictment and may be prosecuted by

Information, do knowingly, and with advice of counsel, waive in open court my right to

be prosecuted by Indictment and do hereby consent to prosecution by Information.

Hf
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Hf

Waiver of Indictment - |
United States v. Zhao, CR23-179RAI

UNITED STATES ATTORNEY
700 STEWART STREET, SUITE 5220
SEATTLE, WASHINGTON 98101
(206) 553-7970
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BO BR OR ee eee eee

Dated this’ st day of November, 2023.

FOR THE DEPARTMENT OF JUSTICE:

MARGARET A. MOESER

Acting Chief

Money Laundering and Asset Recovery
Section, Criminal Division

U.S. Department of Justice

/s Kevin Mosley
KEVIN G. MOSLEY
ELIZABETH R. CARR
Trial Attorneys

JENNIFER K. GELLIE

Acting Chief

Counterintelligence and Export Control
Section, National Security Division
U.S. Department of Justice

/s Beau Barnes
BEAU BARNES
ALEX WHARTON
Trial Attorneys

Waiver of Indictment - 2
United States v. Zhao, CR23-179RAJ

Oka

CHANGPENG ZHAO
Defendant

Bp

BENJAMIN A. NAFTALIS
Attorney for Defendant

oe

WILLIAM A. BURCK
Attorney for Defendant

TESSA M. GORMAN

Acting United States Attorney
Western District of Washington
U.S. Department of Justice

/s Michael Dion
MICHAEL DION
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Approved:

HON. BRIAN A. TSUCHIDA
United States Magistrate Judge

Waiver of Indictment - 3
United States v. Zhao, CR23-179RAJ

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